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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF ILLINOIS

  UNITED STATES of AMERICA,                    )
                                               )
         Plaintiff,                            )
                                               )    CRIM. NO. 87-40070-JPG
  vs.                                          )
                                               )
  RANDY THOMAS LANIER,                         )
                                               )
         Defendant.                            )

                               MEMORANDUM AND ORDER

  GILBERT, District Judge:

         Before the Court is defendant’s motion to vacate and reopen the denial of his § 2255

  motion under Federal Rule of Civil Procedure 60(b) (Doc. 906). Plaintiff has filed a

  response, (Doc. 915), and defendant has filed a reply (Doc. 917).

  I.     Background.

         Defendant was convicted of being a principal administrator of a Continuing Criminal

  Enterprise, (CCE), in violation of 21 U.S.C. § 848, (Count 1), of Conspiracy to Distribute

  marijuana in violation of 21 U.S.C. § 841(a)(1), (Count 2), and of Conspiring to Defraud the

  United States in violation of 18 U.S.C. § 371, (Count 3) by impeding the United States in its

  assessment and collection of revenue. In a separate forfeiture count, the jury found that

  defendant should forfeit $60,000,000. On Count 1, (CCE), he was sentenced to life

  imprisonment, on Count 2, (Conspiracy), he was sentenced to 40 years to run concurrently

  with his life sentence, and on Count 3, (Conspiracy), he was sentenced to 5 years to run

  consecutively to his 40-year sentence but concurrently with his life sentence.

         Defendant appealed, and his convictions were affirmed on January 30, 1992. United
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  States v. Kramer, et al., 955 F.2d 479 (7th Cir. 1992). He then filed a petition for a writ of

  certiorari to the United States Supreme Court which was denied on November 30, 1992.

  Kramer v. United States, 113 S.Ct. 595 (1992).

         On February 20, 1996, defendant filed a 28 U.S.C. § 2255 motion. He later filed a

  supplement to his motion claiming that the district court erred by failing to instruct the jury

  that it must unanimously agree on which underlying crimes constituted the “continuing

  series” necessary for a CCE conviction.

         Shortly thereafter, on March 27, 1996, the United States Supreme Court decided

  Rutledge v. United States, 517 U.S. 292 (1996). Rutledge held that a conspiracy is a lesser

  included offense of every CCE, and that a conviction on both charges for the same conduct

  cannot stand. As such, on March 5, 1998, the Court partially granted defendant’s § 2255

  motion by vacating the conspiracy conviction in light of Rutledge, but making it subject to

  reinstatement if the CCE conviction was ever overturned. Defendant’s CCE conviction and

  life sentence remained, and defendant’s § 2255 motion was denied on all other grounds.

  With regard to the unanimity argument, the § 2255 motion was denied because defendant had

  already raised the unanimity claim on direct appeal, and could not raise it again absent a

  showing of changed circumstances.

         Defendant appealed the denial of his § 2255 motion. On June 1, 1999, the United

  States Supreme Court decided Richardson v. United States, 526 U.S. 813 (1999).

  Richardson held that a jury must agree unanimously on which specific predicate acts

  constitute the “continuing series” of violations for a CCE conviction. Thus, defendant

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  appealed the denial of his § 2255 and requested review of his claims based on the newly

  decided Richardson.

         On February 9, 2000, the United States Court of Appeals for the Seventh Circuit

  affirmed the denial of the § 2255 motion. Specifically, the Seventh Circuit affirmed the

  district court’s decision to vacate the conspiracy conviction based on Rutledge since it was

  a lesser included offense of the CCE. The Seventh Circuit also denied the Richardson claim.

  Specifically, the Seventh Circuit found that the district court’s failure to give a unanimity

  instruction violated Richardson, but it was not a structural error, thus, it was subject to

  harmless error analysis.

         On March 24, 2000, defendant filed a petition for rehearing. On June 12, 2000, the

  Seventh Circuit denied the petition for rehearing but amended its original opinion to include

  additional bases for finding that the district court’s failure to give a unanimity instruction was

  harmless error. The Seventh Circuit found that, “In light of the overwhelming evidence

  against Lanier and the fact that he did not contest his involvement in the drug-dealing

  operation, combined with the jury's forfeiture judgments, the jury necessarily agreed upon

  the violations making up the continuing series.” United States v. Lanier, 220 F.3d 833, 840

  (7th Cir. 2000).

         Six years later, on January 12, 2006, defendant filed a motion for writ of error coram

  nobis (Doc. 884). Again, defendant asserted his Richardson unanimity claim, but this time

  it was based on United States v. Booker, 534 U.S. 220 (2005). Specifically, defendant

  claimed that his CCE conviction must be vacated because Booker requires unanimity, beyond

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  a reasonable doubt, by jurors as to each of the violations making up the series that established

  the CCE. On Novembver 15, 2006, the writ of error coram nobis was denied because Booker

  does not apply to appeals that were final before January 12, 2005, (Booker’s effective date).

  The motion for the writ was also denied because it was a successive § 2255 motion for which

  defendant had not first obtained a certificate of appealability. Finally, the motion for writ

  was denied because such a writ only applies to persons no longer in custody, and thus, is not

  available to defendant. (Doc. 892).1

         Defendant now seeks to reopen his § 2255 motion. This motion is discussed below.

  II.    Discussion.

         Defendant seeks to vacate and reopen the ruling on his previous § 2255 motion under

  Federal Rule of Civil Procedure 60(b)(6). Rule 60(b)(6) allows a party to seek relief from

  a judgment for “any other reason justifying relief from the operation of the judgment.” Fed.R

  Civ.Proc. 60(b). Although Rule 60(b) allows a party to seek relief from a final judgment in

  a habeas corpus case, Rule 60(b) cannot be used to raise claims that should otherwise be

  raised as a second or successive habeas corpus petition subject to the provisions of the

  Antiterrorism and Effective Death Penalty Act. Gonzalez v. Crosby, 125 S.Ct. 2641 (2005).

         In Gonzalez v. Crosby, 125 S.Ct. 2641 (2005), the United States Supreme Court held

  that when a court determines that a 60(b) motion attacks, not the “substance of the federal

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           The denial of defendant’s motion for writ of error coram nobis is currently on appeal,
  Appeal No. 06-4220. On December 15, 2006, the Seventh Circuit issued an order requiring the
  parties to submit a brief memorandum stating why defendant’s appeal should not be summarily
  affirmed as a successive petition. Defendant has asked the Seventh Circuit to stay briefing on
  the appeal pending this Court’s ruling on his motion to reopen the § 2255.

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  court’s resolution of a claim on the merits, but some defect in the integrity of the federal

  habeas proceedings,” defendant need not seek prior authorization from the court of appeals

  under § 2244. Gonzalez, 125 S.Ct. at 2648. In contrast, defendant must seek prior

  authorization for a second or successive habeas corpus petition that raises either a new claim

  or attacks the federal court’s previous resolution of a claim on the merits. Id.

          Initially, the Court notes that Gonzalez is distinguishable from this matter, because

  here, defendant is seeking to vacate the judgment on a § 2255 motion, whereas Gonzalez

  moved to vacate a state court conviction under § 2254. Gonzalez, 125 S.Ct. at 2645, 2646 n.

  3 (noting the similarity between §§ 2254 and 2255, but restricting its discussion to § 2254

  cases). In any event, Gonzalez recognized, in the same way as did the Seventh Circuit in

  Dunlap v., Litscher, 301 F.3d 873, 876 (7th Cir. 2002), that certain issues in Rule 60(b)

  motions do not warrant being construed as successive petitions. Gonzales, 125 S.Ct. at 2648;

  Dunlap, 301 F.3d at 876 (“It is only when Rule 60(b) conflicts with AEDPA that it is

  unavailable to a prisoner ... [not when, for example,] the state procured dismissal of a

  prisoner’s first federal habeas corpus proceeding by making fraudulent representations to the

  district court....”).

          Whether a Rule 60(b) motion is properly considered a successive petition hinges on

  whether the arguments presented in the motion constitute a claim, as the term claim is used

  in § 2244(b). Gonzalez determined that a petitioner brings a “claim” when his motion

  “attacks the federal court’s previous resolution of a claim on the merits.” Gonzalez, 125 S.Ct.

  at 2648. Specifically, Gonzalez noted that: “If neither the motion itself nor the federal

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  judgment from which it seeks relief substantively addresses federal grounds for setting aside

  the movant’s state conviction, allowing the motion to proceed as denominated creates no

  inconsistency with the habeas statute or rules.” Id. Finding that Gonzalez’ argument in his

  Rule 60(b) motion, (i.e., challenging the district court's ruling on an AEDPA statute of

  limitations issue), was not a “claim,” the Court considered the merits of his motion, and

  denied it because he failed to set forth an “extraordinary circumstance” justifying relief.

  Gonzalez, 125 S.Ct. at 2650.

         Here, defendant argues that the United States Court of Appeals for the Seventh Circuit

  failed to conduct a proper analysis of whether the failure to give a unanimity instruction as

  required by Richardson was harmless error. Although he purports to be attacking a

  procedural defect in the habeas action, what he is really challenging is the district court’s

  failure to give the unanimity instruction under Richardson, as well as the denial of his § 2255

  motion and the Seventh Circuit’s affirmance of that denial. It is clear that his § 2255, (the

  judgment he seeks to reopen), was dismissed on the merits. Specifically, the Seventh Circuit

  conducted a review of Richardson claim, and found that based on the evidence, the failure

  to give a unanimity instruction was harmless error. Defendant’s claim is thus a claim for

  relief from the underlying criminal judgment. In civil habeas proceedings, if a Rule 60(b)

  motion presents claims for relief from the underlying criminal judgment rather than

  challenging some procedural defect in the habeas action, it must be dismissed as a second or

  successive petition. See Arrieta v. Battaglia, 461 F.3d 861, 864 (7th Cir.2006). Accordingly,

  defendant’s motion is simply a second § 2255 motion, for which he has not been granted

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  leave to file, and that must be dismissed for lack of jurisdiction. 28 U.S.C. § 2255; Nunez v.

  United States, 96 F.3d 990, 997 (7th. Cir.1996).

  III.   Summary.

         For the foregoing reasons, the Court construes defendant’s Rule 60(b) motion as a

  second collateral attack under 28 U.S.C. § 2255, and the motion, (Doc. 906), is DISMISSED

  for lack of jurisdiction.

         IT IS SO ORDERED.

         DATED: March 19, 2007.

                                                   s/ J. Phil Gilbert
                                                  DISTRICT JUDGE




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